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                                 CERTIFICATE OF SERVICE

       I, Christopher P. Simon, hereby certify that, on this 9th day of November, 2023, I caused

copies of the foregoing Objection and Reservation of Rights to Debtors’ Notice of Potential

Assumption or Assumption and Assignment of Certain Contracts or Leases Associated with the

Non-Rolling Stock Assets to be served upon all interested parties via CM/ECF and the parties listed

on the attached service list by electronic mail unless otherwise indicated thereon.



                                                      /s/ Christopher P. Simon
                                                     Christopher P. Simon (No. 3697)
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